          Case 1:17-cv-02559-KBJ Document 10 Filed 05/24/18 Page 1 of 9



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                              )
KOCH MINERALS SÀRL, et al.,                   )
                                              )
               Plaintiffs,                    )
                                              )
               v.                             )       No. 17-cv-2559 (KBJ)
                                              )
BOLIVARIAN REPUBLIC OF                        )
VENEZUELA,                                    )
                                              )
               Defendant.                     )
                                              )

             GENERAL ORDER AND GUIDELINES FOR CIVIL CASES
                 BEFORE JUDGE KETANJI BROWN JACKSON

        This General Order applies to all cases assigned to the Civil Calendar of Judge
Ketanji Brown Jackson. In order to administer this civil action fairly and in a manner
that is consistent with the litigants’ general interest in completing this litigation
efficiently, it is hereby

      ORDERED that all counsel and pro se litigants (referred to herein as “counsel”)
must familiarize themselves with both the Federal Rules of Civil Procedure and the
Local Civil Rules of the United States District Court for the District of Columbia. 1 It is

       FURTHER ORDERED that all counsel must comply with this General Order,
including the attached Appendix that contains specific directives regarding
Communications with the Court, Hearings, Filing, Discovery, Motions and Stipulations,
Alternative Dispute Resolution, and Settlement. The Court will hold the parties and
counsel responsible for following these directives; failure to conform to this Order
may, when appropriate, result in the imposition of sanctions.


DATE: May 24, 2018                            Ketanji Brown Jackson
                                              KETANJI BROWN JACKSON
                                              United States District Judge


1
 The Local Civil Rules, including recent amendments and supplements, are available at
http://www.dcd.uscourts.gov/court-info/local-rules-and-orders/local-rules.
       Case 1:17-cv-02559-KBJ Document 10 Filed 05/24/18 Page 2 of 9



          APPENDIX TO GENERAL ORDER AND GUIDELINES
     FOR CIVIL CASES BEFORE JUDGE KETANJI BROWN JACKSON


1.   COMMUNICATIONS WITH THE COURT RELATING TO SCHEDULING
     OR OTHERWISE

     (a)   Form of Communications. Communications with the Court should be in
           writing and only by written motion, opposition, and reply, not by letter.
           Ex parte communication with Judge Jackson (either directly or through
           her law clerks) is inappropriate and will not be tolerated.

     (b)   Status or Scheduling Inquiries. Oral inquiries concerning the status or
           scheduling of any pending matter are disfavored. If counsel nevertheless
           needs to make such an oral inquiry, it shall be made to the Courtroom
           Deputy Clerk, Mrs. Gwen Franklin (202-354-3145) rather than to
           Chambers. If Ms. Franklin is unavailable, the inquiry shall be made to her
           designated substitute in the Clerk’s Office. Counsel shall follow the
           instructions that Ms. Franklin (or her substitute) provides. In an actual
           emergency, Chambers can be reached at 202-354-3350.

     (c)   Assistance with CM/ECF. Chambers cannot assist with questions
           regarding CM/ECF; any such inquiries should be made to the CM/ECF
           Help Line (202-354-3190).

2.   HEARINGS

     (a)   Appearances at Hearings and Conferences. All courtroom proceedings,
           unless otherwise indicated, will be conducted in Courtroom 17 of the
           E. Barrett Prettyman United States Courthouse, 333 Constitution
           Ave., NW, Washington, DC 20001. The Court expects that principal
           trial counsel will appear at all hearings and conferences. In addition,
           counsel must have all necessary calendars, including calendars of co-
           counsel, available with them for possible scheduling of future events
           related to the case. Counsel with settlement authority must appear at the
           initial scheduling conference and at the final pretrial conference.

     (b)   Rescheduling Hearings.

           i)    Requests to reschedule hearings are strongly discouraged. Counsel
                 who seek to change a previously scheduled hearing date shall
                 confer with opposing counsel and shall file a written motion at
                 least four (4) business days prior to the scheduled hearing date
                 that shows good cause and proposes three alternative dates and
                 times that would be convenient for all parties in the case. If
                 counsel’s suggested dates and/or times are not available on the
       Case 1:17-cv-02559-KBJ Document 10 Filed 05/24/18 Page 3 of 9



                  Court’s calendar, the Court may reset the hearing for an alternative
                  date and time of its choosing. The Court may, in its discretion,
                  later decide that a previously scheduled hearing is not necessary
                  and thereby take the hearing off the calendar and decide the given
                  matter on the papers.

           ii)    If the Court is closed or the opening time for the start of the
                  Court’s day is delayed because of inclement weather or an
                  unforeseen emergency, the Courtroom Deputy Clerk will
                  reschedule the cases that were scheduled to be heard during the
                  times when the Court was closed.

3.   FILING GUIDELINES

     (a)   Service of the Complaint. The Plaintiff(s) shall promptly serve the
           complaint in accordance with Rule 4 of the Federal Rules of Civil
           Procedure and shall file the proof(s) of service with the Court. If
           Plaintiff fails to serve properly a copy of the complaint in the time Rule 4
           prescribes, the Court may dismiss the action.

     (b)   Amended Pleadings: Any amended pleadings shall be accompanied by a
           redline comparison of the original and amended pleading.

     (c)   Electronic Case Filing (ECF).

           i)     Except as otherwise provided in LCvR 5.4, all documents to be
                  filed with the Court must be filed through the Court’s CM/ECF
                  system.

           ii)    Each attachment to a filing (e.g., supporting memorandum,
                  statement of material facts, each exhibit, each affidavit, and
                  proposed order) must be filed as a separate PDF and
                  appropriately labeled in ECF. Counsel should submit PDFs in
                  the smallest file size possible.

           iii)   A pro se party may obtain a CM/ECF password from the Clerk with
                  leave of Court. To obtain leave of Court, the pro se party must file
                  a written motion entitled “Motion for CM/ECF User Name and
                  Password,” describing the party’s access to the internet, confirming
                  the capacity to file documents and receive the filings of other
                  parties electronically on a regular basis, and certifying that he or
                  she either has successfully completed the entire Clerk’s Office on-
                  line tutorial or has been permitted to file electronically in other
                  federal courts.




                                           2
       Case 1:17-cv-02559-KBJ Document 10 Filed 05/24/18 Page 4 of 9



            iv)   Instructions for filing sealed documents in non-sealed cases are
                  available at http://dcd-
                  dev.jdc.ao.dcn/sites/dcd/files/AttySealedCivilREVMay2014.pdf.

     (d)    Courtesy Copies. Counsel shall provide Chambers, not the Clerk’s
            Office, with a printed courtesy copy, with ECF headers, of any electronic
            submission that, along with exhibits, numbers one hundred (100) pages
            or more in total length. Such courtesy copies shall be in binders, three-
            hole punched, with double-sided pages. Exhibits shall be tabbed for ease
            of reference. The Court otherwise does not accept courtesy copies; the
            Court will contact the filing party if a courtesy copy of any particular
            submission is required.

4.   DISCOVERY

     (a)    Discovery Material. Discovery material shall not be filed with the Court
            unless so ordered. See LCvR 5.2(a).

     (b)    Discovery Disputes. Counsel are referred to LCvR 26.2 and are expected
            to comply fully with its directives. Moreover, counsel are required, under
            Fed. R. Civ. P. 26(c) and 37, as well as LCvR 7(m), to confer in good
            faith in an effort to resolve any discovery dispute and are hereby ordered
            to attempt to resolve any discovery dispute before bringing it to the
            Court’s attention. If counsel are not able to resolve a discovery dispute,
            counsel shall jointly call chambers (202-354-3350) to arrange for a
            telephone conference with the Court. Counsel shall not file any
            discovery-related motion without a prior telephone conference with
            the Court and opposing counsel. It is the practice of this Court to refer
            discovery-related motions to a Magistrate Judge for resolution.

     (c)    Depositions. Counsel must adhere to the following guidelines when
            taking a deposition:

           i)     All counsel are to conduct themselves in a civil, polite, and
                  professional manner. The Court will not countenance incivility or
                  other behavior during the deposition demonstrating that the
                  examination is being conducted in bad faith or to simply annoy,
                  embarrass, or oppress the deponent.

           ii)    Counsel for the deponent shall refrain from gratuitous comments
                  and from directing the deponent as to times, dates, documents,
                  testimony, and the like.

           iii)   Counsel shall refrain from objecting in any manner other than
                  stating an objection for the record followed by a word or two
                  describing the legal basis for the objection.




                                         3
       Case 1:17-cv-02559-KBJ Document 10 Filed 05/24/18 Page 5 of 9



           iv)    Counsel shall refrain from directing the deponent not to answer any
                  question except for reasons that conform to Fed. R. Civ. P.
                  30(c)(2).

           v)     Counsel shall refrain from engaging in dialogue on the record
                  during the course of the deposition.

           vi)    Counsel for any party or person given notice of the deposition may
                  call for suspension of the deposition on the grounds that these
                  conditions are not being adhered to and may immediately apply to
                  the Court for a ruling and remedy. When appropriate, the Court
                  will impose sanctions.

           vii)   In accordance with Fed. R. Civ. P. 30(d)(1), no deposition may last
                  more than seven hours (exclusive of breaks), except by leave of the
                  Court or stipulation of the parties.

5.   MOTIONS AND STIPULATIONS

     (a)    Motions Generally. Counsel must comply with the following instructions
            when briefing any motion; failure to follow these instructions may result
            in sua sponte denial of the motion:

           i)     Every memorandum of points and authorities that is ten pages
                  or more in length must contain a Table of Contents and Table
                  of Authorities, regardless of whether it is filed in support of or
                  in opposition to a motion. Any non-conforming submissions will
                  not be accepted.

           ii)    Each submission that attaches more than one exhibit shall
                  contain an index of exhibits. Exhibits shall be edited properly to
                  exclude irrelevant material and to direct the Court’s attention to the
                  pertinent portions thereof. Any non-conforming submissions will
                  not be accepted.

           iii)   Memoranda of points and authorities filed in support of or in
                  opposition to any motion may not exceed forty-five (45) pages
                  without leave of Court, and without such leave, reply memoranda
                  may not exceed twenty-five (25) pages. The margins for such
                  memoranda shall be set at one inch and all text in the main body
                  must be double-spaced and in twelve-point Times New Roman font,
                  while all footnotes must be single-spaced and in ten-point Times
                  New Roman font. Counsel are cautioned not to attempt to
                  circumvent these page limitations through extensive use of lengthy
                  footnotes. The caption, signature blocks, and any required tables
                  shall not count toward these limits.




                                          4
  Case 1:17-cv-02559-KBJ Document 10 Filed 05/24/18 Page 6 of 9



      iv)     The Court may reject any filing that, without leave, is filed out of
              time or exceeds the page limitations established in the Local Rules
              or in an Order of this Court.

      v)      Counsel may not file a sur-reply without first requesting leave of
              the Court.

      vi)     If counsel fails to file a memorandum of points and authorities in
              opposition to a given motion, the Court may treat the motion as
              conceded. LCvR 7(b). Similarly, if counsel fails to respond to
              arguments in opposition papers, the Court may treat those specific
              arguments as conceded. See Phrasavang v. Deutsche Bank, 656 F.
              Supp. 2d 196, 201 (D.D.C. 2009) (citations omitted).

      vii)    Every pleading or paper, regardless of whether it is signed by an
              attorney or a pro se party, shall contain the name, address,
              telephone number, and, for an attorney, bar identification number
              of its signatory. LCvR 5.1(e).

      viii)   The Court will summarily deny motions that are subject to LCvR
              7(m) but do not contain the requisite statement.

(b)    Motions for Extensions of Time. Motions for extension of time are
       discouraged, and counsel should not expect the Court to grant extensions.
       The Court will not entertain or honor stipulations for extensions of
       time. Instead, counsel seeking an extension of a deadline shall file a
       written motion at least two (2) business days prior to expiration of the
       deadline that includes the following information:

       i)     The current deadline for which counsel seeks an extension;

       ii)    The specific grounds for the extension, including a statement of
              good cause or excusable neglect, as applicable;

       iii)   The number of previous extensions, if any, granted to each party;

       iv)    A statement of the impact that the requested extension would have
              on all other previously established deadlines;

       v)     A proposed schedule for any other affected deadlines, to be
              proposed only after consulting with opposing counsel; and

       vi)    A statement of opposing counsel’s position vis-à-vis the motion in
              accordance with LCvR 7(m).




                                     5
  Case 1:17-cv-02559-KBJ Document 10 Filed 05/24/18 Page 7 of 9



       The Court may summarily deny any motion that does not comply with
       these requirements.

(c)    Motions Seeking Leave to File Out of Time or To Exceed the Page
       Limitations.

       i)    Motions for leave to file out of time should demonstrate excusable
             neglect for the delay, and should state that the filing is ready to be
             submitted if the Court grants leave. Counsel should not include
             (or lodge) the document to be filed. If the Court grants leave, it
             will authorize counsel to file the document or motion subsequent to
             its ruling on the motion.

       ii)   Motions for leave to exceed the page limitations stated above in
             Part 5(a)(ii) and below in Part 5(e) are accepted but discouraged.
             Counsel who wish to seek leave to exceed page limitations shall
             file a written motion demonstrating good cause for the request.

(d)    Motions for Summary Judgment. Counsel must comply with the
       following instructions when briefing motions for summary judgment,
       including cross-motions for summary judgment, and the Court may strike
       papers not in conformity herewith:

      i)     Every motion for summary judgment and opposition to such motion
             must comply with LCvR 7(h), which requires that each party
             submitting a motion for summary judgment attach a statement of
             material facts for which that party contends there is no genuine
             dispute, with specific citations to those portions of the record upon
             which the party relies in fashioning the statement. The party
             opposing the motion must, in turn, submit a statement
             enumerating all material facts that the party contends are
             genuinely disputed and thus require trial. LCvR 7(h)(1). The
             parties are strongly encouraged to review Jackson v. Finnegan,
             Henderson, Farabow, Garrett & Dunner, 101 F.3d 145 (D.C. Cir.
             1996), on the subject of LCvR 7(h).

      ii)    The moving party’s statement of material facts shall be a short and
             concise statement, in numbered paragraphs, of all material facts
             as to which the moving party claims there is no genuine dispute.
             The statement must contain only one factual assertion in each
             numbered paragraph.

      iii)   The party responding to a statement of material facts must (1)
             restate the movant’s statement of undisputed material fact in
             numbered paragraphs, and (2) immediately following each




                                     6
  Case 1:17-cv-02559-KBJ Document 10 Filed 05/24/18 Page 8 of 9



             numbered paragraph state the opponent’s response to the stated
             fact.

      iv)    If the responding party has additional facts that are not directly
             relevant to its response to any specific paragraph, it must identify
             such facts in consecutively numbered paragraphs at the end of its
             responsive statement of facts. If such additional factual
             allegations are made, the movant must file a responsive
             statement of its own with its reply brief.

      v)     If an opposition fails to include a separate concise statement of
             genuine disputed issues, or a response to the movant’s statement of
             facts, or specific references to the parts of the record relied upon to
             support the statement or response, the Court may treat as conceded
             any facts asserted in the movant’s statement of facts.

      vi)    The parties must furnish precise citations to the portions of the
             record on which they rely; the Court need not consider materials
             not specifically identified. Fed. R. Civ. P. 56(c)(1)(A), (c)(3).

(e)   Motions for Reconsideration. Motions for reconsideration of prior rulings
      are strongly discouraged. Such motions shall be filed only when the
      requirements of Fed. R. Civ. P. 54(b), 59(e), and/or 60(b) are met. Any
      such motion shall not exceed ten (10) pages in length. Moreover, the
      Court will not entertain (a) motions that simply reassert arguments the
      party previously raised and the Court rejected, or (b) arguments that a
      party could have raised previously but now raises for the first time.

(f)   Stipulations and Joint Motions for Protective Orders.

      i)     The parties may elect to file a stipulation that will become a part of
             the record of the case. The parties may not stipulate to extended
             deadlines, stays, or other matters altering the timing of the
             litigation or any other order of the Court. Moreover, no such
             stipulation shall be considered an enforceable Court order unless
             and until the Court signs the agreement.

      ii)    If the parties desire for this Court to sign any such stipulation or
             enter an order approving it, they must file a motion making that
             request. The motion must explain why cause exists for the Court to
             approve the stipulation, and the parties must submit the text of the
             proposed stipulation as an attachment to the motion.

      iii)   Joint motions to approve stipulated protective orders must contain a
             statement of good cause. See Fed. R. Civ. P. 26(c); Klayman v.
             Judicial Watch, Inc., 247 F.R.D. 19, 23 (D.D.C. 2007).




                                     7
       Case 1:17-cv-02559-KBJ Document 10 Filed 05/24/18 Page 9 of 9



6.   ALTERNATIVE DISPUTE RESOLUTION

     (a)   The parties must thoroughly evaluate their settlement positions prior to
           the Rule 16 conference and each party must be prepared to represent
           to the Court what particular facts, if any, need to be discovered, as
           well as what particular legal issues need to be addressed, as a
           prerequisite to engaging in meaningful settlement negotiations.

     (b)   Submission to alternative dispute resolution, e.g., mediation or neutral
           evaluation, is encouraged and available upon request to the Court at any
           time, as is a settlement conference before a Magistrate Judge.

7.   SETTLEMENT

     (a)   Notification of Settlement. If the case settles in whole or in part, Plaintiff
           shall promptly notify the Court of the settlement.

     (b)   Provisional Dismissal. Upon receipt of a notice of settlement, it is the
           practice of this Court to issue a provisional order of dismissal that allows
           the parties to reopen the case within 45 days if they are unable to
           consummate the settlement.


                                   *      *      *




                                          8
